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  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11    ANTHONY PHILLIPS, SR.,                      Case No. 2:17-cv-04673-MCS (SHK)

 12                                   Plaintiff,
                                                   ORDER ACCEPTING FINDINGS
 13                       v.                       AND RECOMMENDATION OF
                                                   UNITED STATES MAGISTRATE
 14    D. MELO TREJOS,                             JUDGE
 15                                  Defendant.
 16
 17         Pursuant to 28 U.S.C. § 636, the Court has reviewed Plaintiff’s First
 18   Amended Complaint (“FAC”), Defendant’s Motion for Summay Judgment
 19   (“MSJ”), the relevant records on file, and the Report and Recommendation of the
 20   United States Magistrate Judge. No objections have been filed. The Court accepts
 21   the findings and recommendation of the Magistrate Judge.
 22         IT IS THEREFORE ORDERED that Defendant’s MSJ is GRANTED and
 23   this case is DISMISSED with prejudice.
 24
 25   Dated: November 30, 2021
 26                                          HONORABLE MARK C. SCARSI
                                             United States District Judge
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